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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                             )
                                                      )
       Plaintiff,                                     )
                                                      )
       v.                                             )       Case No. 06-cr-40029-JPG
                                                      )
KEON D. PENDLETON,                                    )
                                                      )
       Defendant.                                     )

                                    MEMORANDUM AND ORDER

       This matter comes before the Court on Defendant Keon Pendleton’s pro se Motion (Doc. 510) for

retroactive application of the United States Sentencing Guidelines to his crack cocaine offense.

Pendleton is currently represented by Federal Public Defender Judith Kuenneke, who entered her

appearance on January 22, 2010.

       Although the Sixth Amendment provides criminal defendants the right to waive counsel and

proceed pro se, see Faretta v. California, 422 U.S. 806, 819-20 (1975), the right to “representation by

counsel and self-representation are mutually exclusive entitlements . . . .” Cain v. Peters, 972 F.2d 748,

750 (7th Cir. 1992). So-called “hybrid representation” confuses and extends matters at trial and in other

proceedings; therefore, it is forbidden. See United States v. Oreye, 263 F.3d 669, 672-73 (7th Cir. 2001)

citing with approval Cain, supra.

       Here, Pendleton is free to consult with his attorney in order to ensure that the Court is fully

informed as to the specifics of his case and in order to ensure that the appropriate motions are filed.

However, the Court will strike pro se motions by Pendleton so long as he is represented by counsel.

       Accordingly, the Court DIRECTS the Clerk of Court to STRIKE the instant motion (Doc. 510)

from the record.

IT IS SO ORDERED.
DATED: January 27, 2010
                                                                             s/ J. Phil Gilbert
                                                                             J. PHIL GILBERT
                                                                             U.S. District Judge
